
65 So.3d 145 (2011)
FLORIDA DEPARTMENT OF AGRICULTURE, etc., Appellant,
v.
Frank AYERS, et al., Appellee.
No. 5D10-766.
District Court of Appeal of Florida, Fifth District.
July 8, 2011.
Wesley R. Parsons of Clarke Silverglate, P.A., Miami, for Appellant.
Julie H. Littky-Rubin, William S. Williams and Nancy La Vista of Lytal, Reiter, Clark, Fountain &amp; Williams, LLP, West Palm Beach, and Robert C. Gilbert of Grossman Roth, P.A., Coral Gables, for Appellee.
*146 PER CURIAM.
AFFIRMED. See Fla. Dep't of Agric. &amp; Consumer Servs. v. Bogorff, 35 So.3d 84 (Fla. 4th DCA), rev. denied, 48 So.3d 835 (Fla.2010); Fla. Dep't of Agric. &amp; Consumer Servs. v. City of Pompano Beach, 829 So.2d 928 (Fla. 4th DCA 2002).
GRIFFIN, MONACO and TORPY, JJ., concur.
